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 1   Benjamin I. VandenBerghe, WSBA #35477
     Christopher M. Reed, WSBA #49716
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 7
     Local Counsel for Defendant Trans Union, LLC
 8

 9                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON (TACOMA)
10

11   CHARLES ALBERT LAW,                               CASE NO.
        Plaintiff,
12
           vs.                                         TRANS UNION, LLC’S NOTICE OF
13                                                     REMOVAL
     EQUIFAX INFORMATION SERVICES
14
     LLC, a Georgia Limited Liability Company;
15   EXPERIAN INFORMATION SOLUTIONS,
     INC., an Ohio Corporation; and TRANS
16   UNION LLC, a Delaware Limited Liability
     Company;
17        Defendants.
18

19
           Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant Trans Union, LLC (“Trans

20   Union”) hereby removes the subject action from the Jefferson County Superior Court, State of

21   Washington to the United States District Court for the Western District of Washington, on the
22
     following grounds:
23
           1.     Plaintiff Charles Albert Law served Trans Union on or about December 9, 2021, with
24
     a Summons and Complaint, to be filed in the Jefferson County Superior Court, State of
25

26

     TRANS UNION, LLC’S NOTICE OF REMOVAL                         MONTGOMERY PURDUE PLLC
                                                                         ATTORNEYS AT LAW
     –1                                                                5500 COLUMBIA CENTER
     Case No.                                                             701 FIFTH AVENUE
     {13288/116/02716585-2}                                            SEATTLE, WA 98104-7096
                                                                           (206) 682-7090 TEL
                                                                           (206) 625-9534 FAX
                  Case 3:21-cv-05924-RJB Document 1 Filed 12/21/21 Page 2 of 4



 1   Washington. Copies of the Summons and Complaint are attached hereto as Exhibit A and
 2
     Exhibit B.
 3
           2.     In the Complaint, Plaintiff makes claims against Trans Union under the Fair Credit
 4
     Reporting Act, 15 U.S.C. § 1681 et seq. (the “FCRA”). See Complaint ¶¶ I, 2.2, 2.6-2.8, 3.2 and
 5
     5.1-7.7.
 6

 7
           3.     This Court has original jurisdiction over the subject action pursuant to 28 U.S.C.

 8   § 1331 since there is a federal question. As alleged, this suit falls within the FCRA which thus

 9   supplies this federal question.
10
           4.     Pursuant to 28 U.S.C. § 1441, et seq., this cause may be removed from the Jefferson
11
     County Superior Court, State of Washington to the United States District Court for the Western
12
     District of Washington.
13
           5.     Counsel for Trans Union has contacted counsel and/or corporate representatives for
14

15   the Defendants Equifax Information Services, LLC (“Equifax”), and Experian Information

16   Solutions, Inc. (“Experian”). Equifax and Experian have consented to this removal as evidenced

17   by the consents attached hereto as Exhibit C and Exhibit D, respectively.
18
           6.     Notice of this removal will promptly be filed with the Jefferson County Superior
19
     Court, State of Washington if the action is filed and served upon all adverse parties.
20
           WHEREFORE, Defendant Trans Union, LLC, by counsel, removes the subject action from
21
     the Jefferson County Superior Court, State of Washington to this United States District Court,
22

23   Western District of Washington.

24

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                  Case 3:21-cv-05924-RJB Document 1 Filed 12/21/21 Page 3 of 4



 1                                                Respectfully submitted,
 2
                                                  MONTGOMERY PURDUE PLLC
 3

 4
                                                  s/ Benjamin I. VandenBerghe
 5                                                Benjamin I. VandenBerghe
                                                   WA State Bar No. 35477
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                                                  Counsel for Defendant Trans Union, LLC
10

11
                                                  MONTGOMERY PURDUE PLLC
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13
                                                  s/ Christopher M. Reed
14
                                                  Christopher M. Reed
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19                                                Counsel for Defendant Trans Union, LLC

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                  Case 3:21-cv-05924-RJB Document 1 Filed 12/21/21 Page 4 of 4



 1                                    CERTIFICATE OF SERVICE

 2         The undersigned hereby certifies that a copy of the foregoing has been filed electronically
 3
     on the 21st day of December, 2021. Notice of this filing will be sent to the following parties by
 4
     operation of the Court’s electronic filing system. Parties may access this filing through the
 5
     Court’s electronic filing.
 6
     None.
 7

 8         The undersigned further certifies that a true copy of the foregoing was served on the

 9   following parties via First Class, U.S. Mail, postage prepaid, on the 21st day of December, 2021,

10   properly addressed as follows:
11
     for Plaintiff Charles Albert Law
     SaraEllen Hutchinson, Esq.
12
     Law Office of SaraEllen Hutchinson, PLLC
     539 Broadway
13
     Tacoma, WA 98402
14

15                                                        s/ Christopher M. Reed
                                                          Christopher M. Reed
16                                                         WA State Bar No. 49716
17
                                                          Counsel for Defendant Trans Union, LLC
18

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